
PER CURIAM
*177*116Appellant seeks reversal of a judgment committing him to the custody of the Mental Health Division for a period not to exceed 180 days. See ORS 426.130. In his sole assignment of error, appellant contends that the trial court plainly erred when it failed to advise him of the possible results of the commitment hearing as required by ORS 426.100(1). In particular, he asserts that the trial court plainly erred when it failed to advise him of the possibilities of voluntary treatment or conditional release. In response, the state concedes that the trial court's failure to advise appellant of all of the possible results of the proceeding as required by ORS 426.100(1) is plain error. See State v. M. M. , 288 Or. App. 111, 114-16, 405 P.3d 192 (2017) ; State v. M. S. R. , 288 Or. App. 156, 157, 403 P.3d 809 (2017). We agree that the error is plain and conclude that it is appropriate to exercise our discretion to correct the error for the reasons stated in M. M., 288 Or. App. at 116, 405 P.3d 192 (nature of civil commitment proceedings, relative interests of the parties in those proceedings, gravity of the violation, and ends of justice).
Reversed.
